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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


JABARI STAFFORD,

                     Plaintiff,

v.                                               Case No. 1:18-cv-02789-CRC
THE GEORGE WASHINGTON
UNIVERSITY, et al.,

                     Defendants.


INDEX OF EXHIBITS IN SUPPORT OF DEFENDANT THE GEORGE WASHINGTON
       UNIVERSITY’S MOTION FOR CASE-TERMINATING SANCTIONS


 Exhibit
                                         Exhibit Description
  No.


           Excerpts from February 24, 2020 Deposition Transcript of A. Sahoo
     1
           *Filed under seal


           Post-July 2019 Text Messages Between Plaintiff and W. Tutecky [Stafford002185]
     2
           *Filed under seal


           Post-July 2019 Text Messages Between Plaintiff and A. Sahoo [Stafford002186]
     3
           *Filed under seal


           Excerpts from October 21, 2020 Deposition Transcript of W. Tutecky
     4
           *Filed under seal


           Stafford v. The George Washington University, Case No. 1:20-cv-10493-LTS (D.
     5
           Mass.), ECF 11 (March 6, 2020 Order)


           Stafford v. The George Washington University, Case No. 1:20-cv-10493-LTS (D.
     6
           Mass.), ECF 23 (March 19, 2020 Order)
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Exhibit
                                        Exhibit Description
 No.


  7       July 16, 2019 Text Messages between W. Tutecky and A. Sahoo [Tutecky_000445]


          Stafford v. The George Washington University, Case No. 1:20-cv-10493-LTS (D.
  8
          Mass.), ECF 34 (April 24, 2020 Status Report Regarding Forensic Imaging)


          November 4, 2020 Declaration of M. Green (Stroz Friedberg)
  9
          *Filed under seal


          December 13, 2019 WhatsApp Communications between Plaintiff and W. Tutecky
  10
          [Tutecky_000855]


  11      March 21, 2019 Email from K. Hall to Plaintiff [Stafford000724]




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